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                                        No. 23-2275

                                       In the
                           United States Court of Appeals
                               for the Fourth Circuit
                         ──────────────────────────

                                  STEVEN ROBERT BROWN, et al.,

                                                       Plaintiffs-Appellees,
                                                  v.
              BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES,
                                   et al.,

                                                       Defendants-Appellants.

                            ──────────────────────────
                           On Appeal from the United States District Court
                              for the Northern District of West Virginia
                                       No. 1:22-cv-00080-TSK
                            ──────────────────────────

                                       APPELLEES’ BRIEF

                               ──────────────────────────

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           February 21, 2024
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                                        INTRODUCTION

              As a matter of plain text, the Second Amendment’s protection extends to “all

        Americans,” including law-abiding, 18-to-20-year-olds adult citizens. See District

        of Columbia v. Heller, 554 U.S. 570, 581, 592 (2008). And there is no historical

        tradition that would support restricting handgun sales to any “ordinary, law-abiding,

        adult citizens” on account of their age. See N.Y. State Rifle & Pistol Ass’n, Inc. v.

        Bruen, 597 U.S. 1, 31 (2022). It follows that the challenged laws and regulations,

        which categorically bar 18-to-20-year-old adults from accessing the commercial

        market for handguns (the “Handgun Purchase Ban”), cannot pass constitutional

        muster.

              Following these principles, the district court granted judgment in Plaintiffs’

        favor. The district court held that the acquisition of handguns by 18-to-20-year-old

        adults was conduct falling within the scope of the plain text of the Second

        Amendment and that there was no historical tradition of similar firearms regulation

        that satisfied the requirements of the test laid out in Bruen, 597 U.S. 1 (2022). This

        decision was correct. 18-to-20-year-olds are part of “the people” whose rights are

        secured by the Bill of Rights. And at the Founding, far from being forbidden from

        acquiring common arms for self-defense, they were required to arm themselves. The

        only laws that arguably could support the Handgun Purchase Ban come from 1856

        at the earliest, far too late to overcome the overwhelming evidence from the


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        Founding, and the district court was correct to disregard them. And in any event,

        even by the end of the 19th century those laws were enacted in only a minority of

        the states, too few to establish a tradition that would limit the scope of Second

        Amendment rights. What is more, the vast majority of laws were directed at minority

        status, not any particular age, and therefore the laws cannot support a restriction on

        legal adults, regardless of age. The decision below should be affirmed.

                               JURISDICTIONAL STATEMENT

              The district court had subject matter jurisdiction pursuant to 28 U.S.C. § 1331,

        because Plaintiffs brought claims arising under federal law. JA13. This Court has

        jurisdiction pursuant to U.S.C. § 1291, because this appeal is from a final judgment

        that disposed of all claims. JA69. The district court entered judgment on December

        1, 2023, and the Government timely noticed this appeal on December 8, 2023. JA83.

                                     STATEMENT OF ISSUES

              Whether federal law banning licensed dealers from selling handguns and

        handgun ammunition to law-abiding 18-to-20-year-old adults violates the Second

        Amendment to the United States Constitution.

                                    STATEMENT OF THE CASE

              Plaintiffs challenge the constitutionality of statutes that were enacted as part

        of the Omnibus Crime Control and Safe Streets Act of 1968, Pub. L. No. 90-351, 82

        Stat. 197, along with regulations promulgated to enforce those statutory provisions,


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        that together bar 18-to-20-year-olds from purchasing handguns from federal

        firearms licensees (“FFLs”). In particular, the Handgun Purchase Ban makes it

        unlawful for an FFL:

              to sell or deliver . . . any firearm or ammunition . . . if the firearm, or
              ammunition is other than a shotgun or rifle, or ammunition for a
              shotgun or rifle, to any individual who the licensee knows or has
              reasonable cause to believe is less than twenty-one years of age.

        18 U.S.C. § 922(b)(1). Likewise, the Act prohibits FFLs from selling a firearm to a

        person “who does not appear in person at the licensee’s business premises (other

        than another licensed importer, manufacturer, or dealer)” unless the person submits

        a sworn statement that “in the case of any firearm other than a shotgun or a rifle, [he

        or she is] twenty-one years or more of age.” Id. § 922(c)(1). These statutes are

        implemented by regulations that similarly bar handgun sales to individuals under 21.

        See 27 C.F.R. §§ 478.99(b)(1), 478.96(b), & 478.124(a), (f).

              As a result of these statutes and regulations, “18-to-20-year-olds may not

        purchase handguns from FFLs.” Nat’l Rifle Ass’n of Am., Inc. v. Bureau of Alcohol,

        Tobacco, Firearms, & Explosives (“NRA I”), 700 F.3d 185, 190 (5th Cir. 2012),

        abrogated by Bruen, 597 U.S. at 19–20. And FFLs effectively are the commercial

        market for handguns—all who “engage in the business of importing, manufacturing,

        or dealing in firearms” must become FFLs. See 18 U.S.C. § 922(a)(1)(A). The

        Handgun Purchase Ban therefore shuts 18-to-20-year-olds out of the entire

        commercial market for handguns.


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              Plaintiffs Robert Brown and Benjamin Weekley are law-abiding, adult

        citizens of the United States who live in West Virginia. They are between the ages

        of 18 and 21. JA29–30. Brown and Weekley each inquired unsuccessfully about

        purchasing a handgun from a licensed dealer in the summer of 2022, and both would,

        if it were not for the Handgun Purchase Ban, purchase handguns and handgun

        ammunition from a licensed dealer. JA30–31.

              Plaintiff West Virginia Citizens Defense League “is a nonpartisan, nonprofit

        membership organization formed in 2008 with a purpose of preserving, expanding,

        and perpetuating the right to keep and bear arms in the State of West Virginia.” JA30.

        WVCDL has adult 18-to-20-year-old members who, but for the Handgun Purchase

        Ban, would purchase handguns and handgun ammunition from licensed dealers.

        JA30. Both Brown and Weekley are members of WVCDL. JA30.

              Plaintiff Brown initiated this action pro se on August 30, 2022, seeking relief

        against the federal agency—the Bureau of Alcohol, Tobacco, Firearms, and

        Explosives (“BATFE”)—and federal officials—the director of the BATFE and the

        attorney general—responsible for enforcing the Handgun Purchase Ban, as well as

        the West Virginia Attorney General. JA33. On September 27, 2022, Brown filed,

        through counsel, the First Amended Complaint (the operative complaint in this case),




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        which added Weekley, WVCDL, and Second Amendment Foundation 1 as Plaintiffs

        and dropped the West Virginia Attorney General as a defendant. JA33.

              The Government moved to dismiss, and Plaintiffs moved for summary

        judgment. JA34. The district court denied the Government’s motion and granted

        judgment in Plaintiffs’ favor, declaring the Handgun Purchase Ban to be unlawful

        and enjoining its enforcement. JA67–68. The Government sought a stay pending

        appeal, which the district court granted. JA71.

                                    SUMMARY OF ARGUMENT

              Under Bruen, this Court must review this Second Amendment challenge first

        by asking whether the plain text of the Amendment covers the conduct prohibited

        by the Handgun Purchase Ban. If so, then the Ban is presumptively unconstitutional

        and can only be saved only if the Government demonstrates a tradition of “distinctly

        similar” historical regulations with roots at the Founding.

              The district court’s careful analysis followed this framework, and this Court

        should affirm its decision by following the same method. There can be no doubt that

        the plain text of the Second Amendment protects the rights of 18-to-20-year-olds to

        purchase firearms. Although the Amendment explicitly protects “keep[ing]” and

        “bear[ing]” firearms, it is well established that Constitutional rights extend to cover



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                Second Amendment Foundation’s claims were voluntarily dismissed without
        prejudice and so it is not a party to this appeal. JA30

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        conduct necessary to their exercise, and here the right to “keep” a firearm necessarily

        entails the right to acquire one, including through the regulated marketplace. Indeed,

        the right to keep and bear arms clearly is “infringed” by laws that place obstacles in

        the way of acquiring those arms in the first place. And Plaintiffs are among “the

        people” to whom the right applies. The Supreme Court has repeatedly said that this

        language in the Second Amendment (as well as the First and the Fourth) refers to all

        Americans. Furthermore, Heller explained that members of the militia are a subset

        of the people, and when the Second Amendment was ratified 18-to-20-year-olds

        universally were understood to be members of the militia. Although early militia

        statutes did not confer a right to keep and bear arms, they demonstrate a background

        understanding that 18-year-olds were among the people to whom the pre-existing

        right to keep and bear arms applied.

              Turning to history, the Government argues that both Founding-era and later

        history supports its ability to limit the right of Plaintiffs to buy handguns, but that is

        false. There is no support for the Handgun Purchase Ban at the Founding, when 18-

        to-20-year-olds were required to own firearms as part of their militia duties and there

        were zero laws restricting them from using those firearms when not on duty. The

        Government urges the Court to find support for the Handgun Purchase Ban in the

        fact that 18-to-20-year-olds were considered “minors” for some purposes at the

        Founding, or the fact that their parents had, in some cases, significant control over


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        their lives, but Bruen requires that modern restrictions be justified by historical laws

        that are “relevantly similar” in “how” and “why” they burden the right to bear arms

        specifically. And none of the Government’s Founding-era restrictions burdened that

        right at all.

               In fact, the first laws that could even arguably be considered analogues do not

        appear until just before the Civil War. These laws are both too little (enacted in only

        a minority of the states) and too late (enacted between sixty and over one-hundred

        years after ratification), in the face of the unanimous practice at ratification, to

        overcome the clear text of the Amendment and that earlier history. The Court need

        look no further. But even if these later laws are analyzed, once those that were

        enacted without reference to any constitutional provision protecting the right to bear

        arms and other historical outliers are removed, all are distinguishable as focused

        exclusively on the practices of minors, who were dependent upon their parents for

        care and protection. Plaintiffs in this case are legal adults; earlier restrictions on the

        rights of minors are irrelevant to the Handgun Purchase Ban.

               As such, the district court’s judgment should be affirmed, as should its award

        of injunctive relief. As this Court has recognized, an injunction is the appropriate

        remedy where Plaintiffs’ challenge the constitutionality of a congressional

        enactment. That the district court did not explicitly analyze the injunction factors in

        its decision is irrelevant since it did analyze those factors in response to the


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        Government’s motion for a stay pending appeal and its findings support injunctive

        relief.

                                              ARGUMENT

                  The Second Amendment provides: “A well regulated Militia, being necessary

        to the security of a free State, the right of the people to keep and bear Arms, shall

        not be infringed.” U.S. CONST. amend. II. The right presumptively “belongs to all

        Americans,” not “an unspecified subset.” Heller, 554 U.S. at 580, 581, 592. The

        Amendment enshrines “ ‘the right of law-abiding, responsible citizens to use arms’

        for self-defense . . . [and] demands our unqualified deference.” Bruen, 597 U.S. at

        26 (quoting Heller, 554 U.S. at 635). For that reason, no important governmental

        interest can justify legislation that conflicts with the protections of the Second

        Amendment. Following the Supreme Court’s decision in Bruen, the following

        standard governs cases challenging the constitutionality of laws under the Second

        Amendment:

                  When the Second Amendment’s plain text covers an individual’s
                  conduct, the Constitution presumptively protects that conduct. The
                  government must then justify its regulation by demonstrating that it is
                  consistent with the Nation’s historical tradition of firearm regulation.
                  Only then may a court conclude that the individual’s conduct falls
                  outside the Second Amendment’s unqualified command.
        Id. at 2129–30 (quotation marks omitted). Here, the text of the Amendment

        encompasses 18-to-20-year-olds’ right to acquire handguns and the Government has

        not demonstrated a historical tradition of firearm regulation at all comparable to the


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        Handgun Purchase Ban. As a result, the district court was right to grant Plaintiffs’

        motion for summary judgment.

           I.      The Second Amendment’s Plain Text Covers Plaintiffs’ Rights to
                   Purchase Firearms.

                      A. The Second Amendment Protects the Right to Purchase
                         Firearms.
                The Handgun Purchase Ban prevents Plaintiffs from purchasing handguns and

        handgun ammunition from licensed firearms dealers. That is activity covered by the

        Second Amendment. The Second Amendment explicitly enshrines a right to “keep”

        arms and a right to “bear” them. The Supreme Court has explained that “keep” in

        this context means that Americans have a right to “to retain [arms] in one’s power or

        possession”; i.e., to “have weapons.” Heller, 554 U.S. at 582 (analyzing Founding

        era dictionaries) (cleaned up). As a panel of this Court recently explained, this “is

        not complicated. If you do not already own a handgun, then the only way to ‘keep’

        or ‘bear’ one is to get one, either through sale, rental, or gift.” Maryland Shall Issue,

        Inc. v. Moore, 86 F.4th 1038, 1043 (4th Cir. 2023), reh’g en banc granted, 2024 WL

        124290 (4th Cir. Jan. 11, 2024). And although the Handgun Purchase Ban does not

        prohibit Plaintiffs from receiving a handgun as a gift or from buying one from

        someone who is not in the business of selling firearms, it does entirely cut them off

        from the regulated commercial market, which is more than enough to implicate the

        Second Amendment. The Amendment states that the right “shall not be infringed,”



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        and anything that hinders the exercise of that right “infringes” it. Id. at 1044, n.8;

        see also Nunn v. State, 1 Ga. 243, 251 (1846) (“The right of the whole people . . . to

        keep and bear arms . . . shall not be infringed, curtailed, or broken in upon, in the

        smallest degree[.]” (emphasis in original)); Heller, 554 U.S. at 612–13 (citing Nunn

        approvingly). Barring individuals from the commercial market in handguns hinders

        their ability to keep and bear arms.

              Looked at from another angle, constitutional rights are accompanied by

        “concomitant” protections, see N.Y. State Rifle & Pistol Ass’n, Inc. v. City of New

        York, 140 S. Ct. 1525, 1541 (Alito, J., dissenting), and therefore “protect those

        closely related acts necessary to their exercise,” Luis v. United States, 578 U.S. 5,

        26 (2016) (Thomas, J., concurring in the judgment). And while this Court has

        granted rehearing in Maryland Shall Issue, it is unlikely to disagree with the panel’s

        conclusion that the Second Amendment protects firearm acquisition. As the district

        court explained, in agreement with many other courts that have reached the same

        conclusion, “[c]ommon sense tells us that the right to keep and bear arms includes

        the right to purchase them.” JA51; see also Teixeira v. Cnty. of Alameda, 873 F.3d

        670, 677 (9th Cir. 2017) (“The core Second Amendment right to keep and bear arms

        for self-defense wouldn’t mean much without the ability to acquire arms.” (quoting

        Ezell v. City of Chi., 651 F.3d 684, 704 (7th Cir. 2011)); Jackson v. City and Cnty.

        of San Francisco, 746 F.3d 953, 967 (9th Cir. 2014) (“[T]he right to possess firearms


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        for protection implies a corresponding right to obtain bullets necessary to use them.”

        (quoting Ezell, 651 F.3d at 704)), abrogated on other grounds by Bruen, 597 U.S. at

        19–20; United States v. Marzzarella, 614 F.3d 85, 92 n.8 (3d Cir. 2010) (The

        conclusion that “there would be no constitutional defect in prohibiting the

        commercial sale of firearms . . . would be untenable under Heller.”), abrogated on

        other grounds by Bruen, 597 U.S. at 19–20; Ill. Ass’n of Firearm Retailers v. City of

        Chicago, 961 F. Supp. 2d 928, 930 (N.D. Ill. 2014) (“This right must also include

        the right to acquire a firearm.”); Andrews v. State, 50 Tenn. 165, 178 (1871) (“The

        right to keep arms, necessarily involves the right to purchase them.”); see also

        Heller, 554 U.S. at 583 n.7 (2008). A reading of the text to find possession protected

        but acquisition not would eviscerate the Second Amendment and render it a practical

        nullity. As the Supreme Court cautioned in McCulloch v. Maryland:

              A constitution, to contain an accurate detail of all the subdivisions of
              which its great powers will admit, and of all the means by which they
              may be carried into execution, would partake of the prolixity of a legal
              code, and could scarcely be embraced by the human mind. . . Its nature,
              therefore, requires, that only its great outlines should be marked, its
              important objects designated, and the minor ingredients which compose
              those objects, be deduced from the nature of the objects themselves.
        17 U.S. 316, 407 (1819). With that in mind, an Amendment protecting the right to

        keep arms free from any infringement must be understood to protect the right to

        purchase firearms.




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              The Government disputes this point, arguing that Plaintiffs could go to “other

        sources” to acquire firearms and claiming that the Handgun Purchase Ban is merely

        one of the “laws imposing conditions and qualifications on the commercial sale of

        arms” on which the Supreme Court in Heller said it was not “cast[ing] doubt.” Br.

        for Appellants, Doc. 19, at 9–10 (Jan. 22, 2024) (“Gov’t Br.”) (second and third

        quotes from Heller, 554 U.S. at 626–27 & n.26). As to the first point, this is an

        argument about the degree of burden that the Handgun Purchase Ban imposes, but

        the plain text of the Second Amendment is implicated whenever the right to keep

        and bear arms is infringed, i.e., when the right is “hinder[ed].” SAMUEL JOHNSON, 1

        DICTIONARY OF THE ENGLISH LANGUAGE 1101 (4th ed. 1773) (emphasis added);

        NOAH WEBSTER, AMERICAN DICTIONARY OF THE ENGLISH LANGUAGE (1828); see

        also Maryland Shall Issue, 86 F.4th at 1044. Indeed, Bruen itself did not concern a

        total ban but rather a licensing regime that restricted public carry to those with

        atypical self-defense needs. And Heller concerned a ban on handguns, not all

        firearms. Heller and Bruen therefore refute the Government’s implicit suggestion

        that this Court should excuse laws that implicate the Second Amendment based on

        how severely the Government (or the Court) perceives them to burden the right.

              The question, at this point, is whether the text of the Second Amendment is

        implicated at all, and the answer must be yes. It would clearly implicate the First

        Amendment, for instance, to pass a law that burdens a small minority religious


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        practice even as it leaves other avenues for religious observance open, see, e.g.,

        Church of Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 532 (1993),

        just as it implicates the Fourth Amendment for a police officer to conduct a

        “carefully limited search of the outer clothing . . . in an attempt to discover weapons,”

        Terry v. Ohio, 392 U.S. 1, 30 (1968). Whether this infringement upon the right

        described in the Second Amendment’s text is a justifiable one is an issue for the

        historical analysis mandated by Bruen.

              Furthermore, the Handgun Purchase Ban does more than close off one way

        for Plaintiffs to acquire handguns. It closes off the most important way to do so:

              [O]ther options are not always readily available to many individuals.
              Not all young adults have friends or family members who are able or
              willing to gift them a gun. And secondary markets are not always
              available to everyone or easy to navigate safely. On the other hand,
              licensed dealers come with assurances of quality, safety, legality, and
              more.

        Hirschfeld v. BATFE, 5 F.4th 407, 417 (4th Cir. 2021), vacated as moot 14 F.4th

        322 (4th Cir. 2021). 2 It is hard to even imagine the Government arguing that a law


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                The Government argues that the district court should not have relied upon
        Hirschfeld because it was vacated as moot after the panel opinion issued and “before
        further review was possible.” Gov’t Br. 23. Be that as it may, Hirschfeld remains
        persuasive for its thorough discussion of the very same question the Court faces
        again here, and the district court was far from alone in finding it useful. JA67 n.10
        (“Again, although Hirschfeld itself was vacated, the historical analysis and summary
        detailed in that opinion remains accurate.”); see also, e.g., Lara v. Comm’r Pa. State
        Police, 91 F.4th 122, 132 & n.12 (3d Cir. 2024) (calling Hirschfeld’s analysis
        “instructive”); Worth v. Harrington, 666 F. Supp. 3d. 902, 911, 914–16, 923 (D.
        Minn. 2023) (repeatedly relying on Hirschfeld).

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        barring individuals from purchasing books from those in the business of selling

        books does not even implicate the First Amendment rights of book buyers, yet that

        would be the First Amendment equivalent of what the Government is arguing here.

        By precluding individuals from the principal way by which they can acquire a

        firearm and thereby exercise their Second Amendment right to keep and bear arms,

        the Handgun Purchase Ban regulates conduct falling within the plain text of the

        Second Amendment.

              As to the Government’s second point, the Handgun Purchase Ban is not

        simply a “condition[ or] qualification[] on the commercial sale of arms.” Heller, 554

        U.S. at 627. That language is best read as referring to “a hoop someone must jump

        through to sell a gun, such as obtaining a license, establishing a lawful premise, or

        maintaining transfer records,” not a “total ban on buying a gun from a licensed dealer

        that has met the required conditions and qualifications to sell arms.” Hirschfeld, 5

        F.4th at 416. The Fifth Circuit similarly remarked that “[i]t is not clear that the Court

        had an age qualification in mind when it penned that sentence.” NRA I, 700 F.3d at

        206; see also United States v. Marzzarella, 614 F.3d 85, 92 n.8 (3d Cir. 2010),

        abrogated by Bruen (reasoning that it would be “untenable under Heller” if there

        “would be no constitutional defect in prohibiting the commercial sale of firearms”).

        A law that indirectly bars law-abiding citizens from acquiring handguns from dealers




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        operates not simply as a “condition” on selling handguns but as a ban on acquiring

        them. Id.

                     B. The Second Amendment Applies to 18-to-20-Year-Olds.
              The district court held that “ ‘ordinary, law-abiding, adult citizens’ between

        the ages of 18-to-20-years, are ‘part of the people whom the Second Amendment

        protects.’ ” JA54 (quoting Bruen, 597 U.S. at 8). It was correct to do so and indeed,

        the Government does not seriously dispute the point.

              Two key elements of the Amendment’s text, as conclusively interpreted by

        the Supreme Court, remove any doubt that 18-to-20-year-olds have full Second

        Amendment rights.

              First, the Amendment refers to a right of “the people” to keep and bear arms

        without mentioning age. The “ ‘normal and ordinary’ meaning” of “the people”

        includes all the people. Bruen, 597 U.S. at 19. In other words, the American “people”

        simply are the persons who make up our Nation. See JOHNSON, DICTIONARY OF THE

        ENGLISH LANGUAGE at 1503 (defining “people” as “A nation; those who compose a

        community.”); WEBSTER, AMERICAN DICTIONARY (defining “people” as “The body

        of persons who compose a … nation.”). Thus, as the Supreme Court held in Heller,

        “the Second Amendment right is exercised individually and belongs to all

        Americans.” 554 U.S. at 581 (emphasis added); Nunn, 1 Ga. at 250 (“The right of

        the whole people, old and young, men, women[,] and boys, and not militia only, to



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        keep and bear arms of every description, and not such merely as are used by the

        militia, shall not be infringed, curtailed, or broken in upon, in the smallest degree.”)

        (emphasis in original). Quoting Heller, Bruen reiterated that “the Second

        Amendment guaranteed to ‘all Americans’ the right to bear commonly used arms in

        public subject to certain reasonable, well-defined restrictions.” 597 U.S. at 70. The

        exceptions are shown by history; they are not a matter of plain text.

              Furthermore, construction of the Constitution requires reading individual

        amendments and clauses “in the context of the Constitution as a whole.” Armstrong

        v. Exceptional Child Ctr., Inc., 575 U.S. 320, 325–26 (2015). In context, the

        Constitution elsewhere explicitly considers and prescribes limits based on age. See,

        e.g., U.S. CONST. art. I, § 2, cl. 2 (must be 25 years old to serve in the House of

        Representatives). “In other words, the Founders considered age and knew how to set

        age requirements but placed no such restrictions on rights, including those protected

        by the Second Amendment.” Hirschfeld, 5 F.4th at 421. And in the two other

        provisions in the Bill of Rights that explicitly describe a right of “the people”

        generally—the First and the Fourth Amendments—the rights extend to 18-year-olds

        and in fact extend to the whole people, even those under 18. Tinker v. Des Moines

        Indep. Cmty. Sch. Dist., 393 U.S. 503, 511 (1969) (“Students . . . are ‘persons’ under

        our Constitution [who] are possessed of fundamental rights which the State must

        respect”); W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943); New


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        Jersey v. T.L.O., 469 U.S. 325, 334 (1985) (“Equally indisputable is the proposition

        that the Fourteenth Amendment protects the [incorporated Fourth Amendment]

        rights of students against [unreasonable searches and seizures] by public school

        officials.”); see also Hirschfeld, 5 F.4th at 421. It would make no sense to interpret

        “the people” in the Second Amendment to have a different meaning than it does in

        the First and Fourth Amendments, particularly when it “seems to have been a term

        of art employed in select parts of the Constitution.” Heller, 554 U.S. at 580 (quoting

        United States v. Verdugo-Urquidez, 494 U.S. 259, 265 (1990)). And “[w]hen the

        term the people is made use of . . . in all the enumerations and guaranties of rights

        [in the Constitution] the whole people are intended.” THOMAS M. COOLEY, THE

        GENERAL PRINCIPLES OF CONSTITUTIONAL LAW IN THE UNITED STATES OF AMERICA

        267–68 (1880); accord Heller, 554 U.S. at 580–81. Even where “the people” does

        not appear, every other constitutional right applies at least to those 18 and older.

        Hirschfeld, 5 F.4th at 422–23 (noting that the right to jury trial, voting, marriage,

        and sex apply at least to those 18 years old).

              The Government takes issue with the district court’s reference to the First and

        Fourth Amendment’s similar language because “history shows that the Second,

        First, and Fourth Amendments do not share the same scope.” Gov’t Br. 21. But at

        this stage in the analysis, the history of the Amendment is not implicated beyond

        determining what the “bare text” means. Bruen, 597 U.S. at 44, n.11. And while it


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        is true that history ultimately may demonstrate a difference in how the Government

        constitutionally may regulate the people under the First, Second, and Fourth

        Amendments, any such differences are not discernable from the plain text.

              Second, the Amendment includes a “prefatory clause” which begins: “[a] well

        regulated Militia, being necessary to the security of a free State . . . .” As Heller

        explained, this clause “announces the purpose for which the right was codified: to

        prevent elimination of the militia.” 554 U.S. at 595, 599. As such, although the right

        is not limited to those who were in the militia or eligible for militia service at the

        Founding (it is unquestionably broader and includes, for example, women), “[l]ogic

        demands that there be a link between the stated purpose and the command,” id. at

        577, meaning that if an individual would have been a member of the “militia,” at

        least he must be part of “the people” protected by the Amendment. Indeed, Heller

        explained that “the ‘militia’ in colonial America consisted of a subset of ‘the

        people.’ ” 554 U.S. at 580 (emphasis added). And if “the militia” was a subset of

        “the people,” it necessarily follows that all members of the organized militia also

        were members of “the people.”

              When the Second Amendment was ratified, the “militia” was understood to

        refer to “all able-bodied men,” id. at 596, including in the unanimous judgment of

        the federal government and every state in the union, all male citizens of at least 18

        years of age, Jones v. Bonta, 34 F.4th 704, 718–19 & App’x 2 (9th Cir. 2022)


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        (collecting post-ratification state militia laws), vacated on reh’g and remanded in

        light of Bruen, 47 F.4th 1124 (Mem.). This is apparent from Congress’s initial

        exercise of its power to “provide for organizing, arming, and disciplining, the

        militia.” U.S. CONST. art. I, § 8, cl. 16. The Militia Act of 1792, subd. ch. 33 § 1, 1

        Stat. 271, passed by the Second Congress just months after the Second Amendment

        was ratified, “commanded that every able-bodied male citizen between the ages of

        18 and 45 be enrolled in the militia and equip himself with appropriate weaponry.”

        Jones, 34 F.4th at 718–19 (quoting Perpich v. Dep’t of Def., 496 U.S. 334, 341

        (1990) (alterations omitted)). As a contemporaneous act of Congress, the Militia Act

        provides extraordinarily powerful evidence that individuals by 18 were understood

        to be part of the militia and therefore among the people protected by the Second

        Amendment.

              [M]any of the members of the Second Congress were also members of
              the First, which had drafted the Bill of Rights. But more importantly,
              they were conversant with the common understanding of both the First
              Congress and the ratifying state legislatures as to what was meant by
              ‘Militia’ in the Second Amendment.

        Parker v. Dist. of Columbia, 478 F.3d 370, 387 (D.C. Cir. 2007), aff’d by Heller,

        554 U.S. 570; see also Eldred v. Ashcroft, 537 U.S. 186, 213 (2003) (“[T]his Court

        has repeatedly laid down the principle that a contemporaneous legislative exposition

        of the Constitution when the founders of our Government and framers of our

        Constitution were actively participating in public affairs, acquiesced in for a long



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        term of years, fixes the construction to be given the Constitution’s provisions.”

        (cleaned up)).

              The legislative history of the Militia Act lends further support. In 1790,

        Secretary of War Henry Knox submitted a militia plan to Congress providing that

        “all men of the legal military age should be armed,” and that “[t]he period of life in

        which military service shall be required of the citizens of the United States [was] to

        commence at eighteen.” 2 ANNALS OF CONGRESS 2145–46 (Joseph Gales ed., 1834).

        Representative Jackson explained “that from eighteen to twenty-one was found to

        be the best age to make soldiers of.” Id. at 1860 (emphasis added).

              Eighteen is also the age that George Washington recommended for beginning

        militia enrollment. In an enclosure to a 1783 letter to Alexander Hamilton, General

        Washington—who as President in 1792 signed the Militia Act into law—wrote that

        “the Citizens of America . . . from 18 to 50 Years of Age should be borne on the

        Militia Rolls” and “so far accustomed to the use of [Arms] that the Total strength of

        the Country might be called forth at Short Notice on any very interesting

        Emergency.” Sentiments on a Peace Establishment (May 2, 1783), reprinted in 26

        THE WRITINGS OF GEORGE WASHINGTON 389 (John C. Fitzpatrick, ed. 1938).

              Shortly after the federal age for militia participation was set at 18, every state

        set the age at 18 as well. Jones, 34 F.4th at 719 & App’x 2. The Government attempts

        to dispute this point, suggesting that the age for militia service at the Founding was


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        changeable, and that “Founding Era legislatures retained discretion to exclude 18-

        to-20-year-olds.” Gov’t Br. at 18. For example, the Government emphasizes that in

        colonial Pennsylvania, Benjamin Franklin drafted and succeeded in passing a law

        that required enrollment of men over 21 in the militia. See Gov’t Br. at 19. But that

        law had been repealed by the enactment of the Second Amendment, as from 1777

        onward Pennsylvania required enrollment at 18. See Hirschfeld, 5 F.4th at 433 & nn.

        41–42. And even 18-year-olds could enroll in the colonial Pennsylvania militia, and

        they were heavily incentivized to do so. At this time Pennsylvania levied a tax on

        “ ‘every male white person … between the ages of sixteen and fifty years’ who had

        not joined the militia.” David B. Kopel & Joseph G.S. Greenlee, The Second

        Amendment Rights of Young Adults, 43 S. ILL. U. L.J. 495, 561 (2019) (quoting 8

        THE STATUTES AT LARGE OF PENNSYLVANIA FROM 1682–1801 201 (1898)). In any

        event, a law only requiring 21-year-olds to enroll does not demonstrate that 18-year-

        olds were not understood to be part of the militia. “Although the militia consists of

        all able-bodied men,” laws organizing that body may address only “a subset of

        them.” Heller, 554 U.S. at 596.

              Plaintiffs are unaware of even a single state that exempted 18-to-20-year-olds

        from militia service at the time the Second Amendment was ratified. Indeed, a

        comprehensive survey of over 250 separate state and colonial provisions enacted

        from the seventeenth through the end of the eighteenth century found that the


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        minimum “age for militia duty” was never higher than 18 “except for one 19-year

        period in Virginia [between 1738 and 1757].” Kopel & Greenlee, The Second

        Amendment Rights of Young Adults, 43 S. ILL. U. L.J. at 533.

              The Government objects that “authorization to carry a firearm while serving

        in the militia . . . does not determine the scope of the right to bear arms outside that

        context.” Gov’t Br. 20. To be clear, Plaintiffs do not contend that these militia laws

        somehow extended Second Amendment rights to 18-year-olds. Indeed, Heller made

        clear that the Second Amendment enshrines “an individual right unconnected with

        militia service.” 554 U.S. at 582. Instead, the point is that “the well-regulated

        Militia” referred to in the Amendment’s prefatory clause, which the Constitution

        understood to be an entity “already in existence” made up of “all able-bodied men,”

        is the “pool” from which

              Congress has plenary power to organize the units that will make up an
              effective fighting force. That is what Congress did in the first Militia
              Act, which specified that each and every free able-bodied white male
              citizen . . . who is or shall be of the age of eighteen years . . . shall
              severally and respectively be enrolled in the militia.

        Id. at 596 (quoting Act of May 8, 1792) (quotation marks omitted). Given that “the

        federally organized militia may consist of a subset of” the “militia” referenced in the

        Second Amendment, but nevertheless must draw from that larger body, the

        unanimous inclusion of 18-to-20-years-old in organized militias at or shortly after

        the ratification of the Second Amendment establishes that they must have been



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        within the militia referenced by the Second Amendment. Id. And since Heller

        teaches that “the ‘militia’ in colonial America consisted of a subset of ‘the people,’ ”

        id. at 580, it follows that “those required to serve in the militia and bring arms would

        most assuredly have been among ‘the people’ who possessed the right.” Hirschfeld,

        5 F.4th 407, 429–30. As a result, “any argument that 18-to-20-year-olds were not

        considered, at the time of the founding, to have full rights regarding firearms” is

        “inconceivable.” Nat’l Rifle Ass’n, Inc. v. BATFE, 714 F.3d 334, 342 (5th Cir. 2013)

        (Jones, J., dissental) (“NRA II”).

           II.     The Handgun Purchase Ban Cannot Be Justified By Reference to Any
                   Historical Firearms Regulations.
                 The text of the Second Amendment covers purchasing handguns and applies

        to Plaintiffs, so the Handgun Purchase Ban is unconstitutional under Bruen unless

        the Government can “justify its regulation by demonstrating that it is consistent with

        the Nation’s historical tradition of firearm regulation.” 597 U.S. at 24. The Supreme

        Court was clear: the burden is on the Government to prove that the Handgun

        Purchase Ban is constitutional, and the only acceptable standard against which to

        judge its constitutionality is the history of firearm regulation in this country. Id.; see

        also id. at 26 (“The Second Amendment . . . ‘surely elevates above all other interests

        the right of law-abiding, responsible citizens to use arms’ for self-defense. It is this

        balance—struck by the traditions of the American people—that demands our

        unqualified deference.” (quoting Heller, 554 U.S. at 635)).


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              When applying this test, the Supreme Court has provided significant guidance

        to this Court. For instance, it has cautioned that historical regulations cannot justify

        a modern law unless they are “relevantly similar,” meaning that the historical

        regulations imposed “a comparable burden on the right of armed self-defense” that

        was “comparably justified.” Bruen, 597 U.S. at 29. In cases where, as here, the

        “problem” sought to be addressed (the availability of firearms to 18-to-20-year-olds

        like Plaintiffs) “has persisted since the 18th century, the lack of a distinctly similar

        historical regulation addressing that problem is relevant evidence that the challenged

        regulation is inconsistent with the Second Amendment.” Id. at 26. And when

        analyzing historical analogues, the greatest attention must be placed on the practices

        of the founding generation because, “when it comes to interpreting the Constitution,

        not all history is created equal. ‘Constitutional rights are enshrined with the scope

        they were understood to have when the people adopted them.’ ” Id. at 34 (quoting

        Heller, 554 U.S. at 634–35 (emphasis in Bruen); see Lara, 91 F.4th at 134 (“[T]o

        maintain consistency in our interpretation of constitutional provisions, we hold that

        the Second Amendment should be understood according to its public meaning in

        1791.”); Mark W. Smith, Attention Originalists: The Second Amendment Was

        Adopted in 1791, Not 1868, HARV. J. L. & PUB. POL’Y PER CURIAM, (Fall 2022),

        available at https://bit.ly/3uGTcQg.




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              Two principles require 1791 to be the focus of this Court’s analysis. First,

        with respect to the federal government, the Supreme Court has always treated 1791as

        the key date for determining the meaning of the Bill of Rights. Bruen, 597 U.S. at

        36–37; see also Crawford v. Washington, 541 U.S. 36, 42–50 (2004); Virginia v.

        Moore, 553 U.S. 164, 168–69 (2008); Nev. Comm’n on Gaming Ethics v. Carrigan,

        564 U.S. 117, 122–25 (2011). Second, the Supreme Court has made clear that the

        Bill of Rights, including the Second Amendment, means the same thing applied

        against the federal government directly as it does when applied against the states.

        McDonald v. City of Chicago, 561 U.S. 742, 765–66 (2010) (collecting cases).

        Putting these two principles together, binding Supreme Court precedent mandates

        treating 1791 as the key date for determining the meaning of the Bill of Rights, and

        even if Bruen cast doubt on this practice (it did not, it also treated evidence from the

        Founding as generally dispositive of the scope of the right, see id. at 2136–37), this

        Court would remain bound to follow these decisions until the Supreme Court clearly

        overruled them, see Agostini v. Felton, 521 U.S. 203, 237 (1997); see also Bruen,

        597 U.S. at 34–36 (Barrett, J., concurring).

              More than that, applying the 1791 meaning is logical too. It does not matter

        that the Second Amendment only became applicable to the States through the

        Fourteenth Amendment—the Second Amendment became applicable then, not

        whatever interpretation of the Second Amendment reigned in 1868. Hawaii did not


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        become a state until 1959. It would be untenable to suggest that Hawaii must adhere

        to the understanding of the right to keep and bear arms that reigned during President

        Eisenhower’s second term in office.

                     A. The Unanimous Practice of the Founding Era Was to Permit
                        18-to-20-Year-Olds to Exercise Their Second Amendment
                        Rights on Equal Footing with Older Americans.

              1. The evidence at this most important period of history is dispositive. The

        Government broadly states that “Founding Era evidence reflects that the ratifiers did

        not view the Second Amendment as stripping legislatures of authority to prohibit the

        commercial sale of handguns to 18-to-20-year-olds.” Gov’t Br. 9. There is, in fact,

        zero evidence to back up that claim. Well before the Founding era, the tradition of

        18-to-20-year-olds “keeping and bearing arms [was] deep-rooted in English law and

        custom” and “was brought across the Atlantic by the American colonists.” Jones, 34

        F.4th at 717. As discussed above, in the period immediately following ratification

        “every state’s militia law obliged” 18-to-20-year-olds “to acquire and possess

        firearms.” 34 F.4th at 719 (emphasis added); see also United States v. Miller, 307

        U.S. 174, 179 (1939) (“[W]hen called for service these men were expected to appear

        bearing arms supplied by themselves.”). As already surveyed, “[a]t the time of the

        Second Amendment’s passage, or shortly thereafter, the minimum age for militia

        service in every state became eighteen.” NRA II, 714 F.3d at 340 (Jones, J., dissental)

        (emphasis added).



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              In addition to the “founding-era evidence of militia membership [which]

        undermines [the district court’s] interpretation” of the Amendment, 18-to-20-year-

        olds were expected to bear arms as part of the posse comitatus, which “allowed

        sheriffs and others to compel citizens to serve in the name of the state to execute

        arrests, level public nuisances, and keep the peace, upon pain of fine and

        imprisonment.” Jones, 34 F.4th at 718, 722 (cleaned up). Similarly, at common law

        by age 18 all able-bodied men “were obliged to join in the ‘hue and cry’ (hutesium

        et clamor) to pursue fleeing criminals.” Kopel & Greenlee, Second Amendment

        Rights, supra at 534. So, 18-to-20-year-olds at the founding had firearms, were

        expected to use them in the same circumstances as other law-abiding citizens, and

        no state set any restrictions on their ability to lawfully use them outside of these

        special capacities. After exhaustively surveying historical gun regulations related to

        firearm purchasing by 18-to-20-year-olds, this Court in Hirschfeld concluded that it

        was not until 1856 that any state restricted the ability of 18-to-20-year-olds to

        “possess or purchase weapons.” 5 F.4th at 437.

              2. The Government’s argument to the contrary is founded on weak evidence.

        Indeed, the Government relies overwhelmingly on the fact that “[t]he age of majority

        at common law was 21” and therefore that, at the Founding, 18-to-20-year-olds were

        minors. Gov’t Br. at 11. But the common law age of majority cannot bear the weight

        the Government places on it, for several reasons.


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              First, the age of majority did not have talismanic significance. As even the

        Government acknowledges, at the Founding “legislatures established age

        qualifications for a range of activities, from getting married, to becoming a

        naturalized citizen, to forming enforceable contracts.” Id. at 10 (citations omitted);

        see also id. at 11 (listing other activities). For example, by the age of 12 individuals

        could consent to marriage, by 14 they could select a guardian should they be left

        without one, and by the age of 17 they could devise a will and serve as the executor

        of an estate. 1 BLACKSTONE COMMENTARIES *463–64; see also Hirschfeld, 5 F.4th

        at 435.

              Second, the age of majority did not have any significance for firearm rights.

        Rather, as we have explained, at the Founding it was universally acknowledged that

        by the age of 18 individuals were members of the militia and therefore capable of

        (and entrusted with) bearing arms. And there were zero laws restricting 18-to-20-

        year-olds’ ability to acquire or use their privately-owned arms on account of their

        age. Indeed, just a few years before the ratification of the Second Amendment, in

        the winter of 1787–88, future president Andrew Jackson, at the time a 20-year-old

        attorney preparing to move to (what would become) Tennessee, purchased for

        himself “a rifle and a good pair of pistols” to arm himself for his journey. HENDRIK

        BOORAEM, YOUNG HICKORY: THE MAKING OF ANDREW JACKSON 195, 199 (2001),




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        https://bit.ly/48uq2l3. It is evident that no ban on the acquisition of firearms existed

        for people in this age group just because they were “minors.”

              Third, even if minority status did have talismanic significance for Second

        Amendment rights (and it did not), that would not help the Government because

        Plaintiffs are not minors. The Bruen analysis requires courts to evaluate Founding-

        era traditions of firearm regulation to determine the principles that limit the scope of

        the Second Amendment, but then those principles must be applied to today’s

        circumstances. This can be seen in the related context of which arms can be regulated

        consistent with the Second Amendment. Heller identified one Founding-era

        tradition of regulation that could support restrictions on particular types of arms: “the

        historical tradition of prohibiting the carrying of ‘dangerous and unusual weapons.’”

        554 U.S. at 627. But as Bruen makes clear, having identified this principle, it must

        be evaluated against today’s circumstances. “Thus, even if [certain] colonial laws

        prohibited the carrying of handguns because they were considered ‘dangerous and

        unusual weapons’ in the 1690s, they provide no justification for laws restricting the

        public carry of weapons that are unquestionably in common use today.” 597 U.S. at

        47. Similarly, even if 18-to-20-year-olds were limited in their Second Amendment

        rights at the Founding because of their minority status, that would provide no

        justification for restriction the Second Amendment rights of 18-to-20-year-old

        adults today. Indeed, doing so would be particularly perverse, as 18-to-20-year-olds


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        would then be both deprived of the right to have someone else legally obligated for

        their care and protection (on account of being above the age of majority) while also

        being deprived of their right to protect themselves (by virtue of, in the Government’s

        view, lacking Second Amendment rights).

              Fourth, even we were wrong about all of this, it still would not support the

        Government’s position. That is because the Supreme Court, in the First Amendment

        context, has expressly rejected the notion that the Government can leverage the

        historic right of parents to control their minor children to support laws that bypass

        parents and restrict the rights of children directly. See Brown v. Ent. Merchants

        Ass’n, 564 U.S. 786, 564 U.S. 786, 795 n.3 (2011). Rather, the historic rights of

        parents at most support the Government giving effect to the expressed wishes of a

        parent—for example, “to require . . . that the promoters of a rock concert exclude

        those minors whose parents have advised the promoters that their children are

        forbidden to attend.” Id. They do not support restrictions that require affirmative

        consent from parents before children can access a product or service connected with

        the exercise of a fundamental right. And, of course, the rights of parents have no

        bearing at all in situations dealing with the rights of legal adults.

              3. The smattering of additional Founding-era evidence cited by the

        Government fares no better. For example, the Government quotes John Adams and

        Gouverneur Morris as reflective of the Founders’ “view that reason and judgment


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        are not fully developed before age 21.” Gov’t Br. at 12. But these statements

        addressed why individuals under 21 should not have the right to vote. And 18-to-20-

        year-olds were not permitted to vote at the Founding, so these statements were

        backed up by actual legal restrictions. But such restrictions have no bearing on laws

        restricting firearm rights. There is no indication that the ratifiers of the Second

        Amendment saw any connection at all between the right to vote and the right to keep

        and bear arms and Heller forecloses linking the two. Voting is a “civic right” or “a

        right that was exercised for the benefit of the community … rather than for the

        benefit of the individual.” Kanter v. Barr, 919 F.3d 437, 462–63 (7th Cir. 2019)

        (Barret, J., dissenting). “Heller, however, expressly rejects the argument that the

        Second Amendment protects a purely civic right. It squarely holds that ‘the Second

        Amendment confer[s] an individual right to keep and bear arms,’ and it emphasizes

        that the Second Amendment is rooted in the individual’s right to defend himself.”

        Id. at 463 (quoting Heller, 554 U.S. at 595) (citations omitted).

              In any event, any statements from the founders about the immaturity of 18-to-

        20-year-olds should be read to support Plaintiffs, because they would show that the

        Founding generation was fully aware of potential maturity issues of people in this

        age group and yet did nothing to restrict their access to firearms but instead

        mandated it. See Bruen, 597 U.S. at 26–27; NRA II, 714 F.3d at 342.




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              Nor does it matter that “infants” were exempted from serving as peace

        officers. See Gov’t Br. 12–13. The Government’s support for that claim comes from

        a justice of the peace manual, which likewise decreed that “clergymen, attorneys . . .

        lawyers, . . . old and sick persons,” were exempt from service as constables. JOHN

        FAUCHEREAUD GRIMKE, THE SOUTH CAROLINA JUSTICE OF THE PEACE 117 (1788).

        Plainly, the duty to serve as a constable was more limited than the right to bear arms.

                     B. Reconstruction Era History Confirms That 18-to-20-Year-Olds
                        Have Full Firearm Rights.
              In view of the unanimous practice of the Founding era of treating 18-to-20-

        year-olds as having full Second Amendment rights, this Court need look no further.

        See Lara, 91 F.4th at 134 & n.15 (“We thus set aside the Commissioner’s catalogue

        of statutes from the mid-to-late nineteenth century, as each was enacted at least 50

        years after the ratification of the Second Amendment.”). The district court found it

        dispositive that the Government “failed to offer evidence of a similar regulation

        between [the period before or at the Founding] and 1791 or in a relevant timeframe

        thereafter.” JA66. It was right to do so. “Heller’s interest in mid- to late-19th century

        commentary was secondary. . . . In other words, [Heller’s] 19th-century evidence

        was ‘treated as mere confirmation of what the Court thought had already been

        established,’ ” by earlier sources of information about the right. Bruen, 597 U.S. at

        36–37 (quoting Gamble v. United States, 139 S. Ct. 1960, 1975–76 (2019)).




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              Even if the Government’s late-in-time evidence is considered, it does not

        favor a different result. The Government wrongly claims that “[w]ithin a lifetime of

        the founding, state legislatures enacted laws that parallel the restrictions here,” Gov’t

        Br. 12, and that “nineteenth century evidence demonstrates that at least 20

        jurisdictions enacted laws that parallel the federal restrictions,” id. at 9. But as this

        court acknowledged in Hirschfeld, the first laws that are even arguably similar to the

        Handgun Purchase Ban were not adopted until 1856. 5 F.4th at 437. That is not

        “within a lifetime of the founding.” By 1826, Jefferson and Adams had passed away,

        and with the death of James Madison in 1836, the Founding generation had been two

        decades off the scene by the time the Government’s first proffered analogues were

        enacted. And in addition to being too late, the Government’s catalog of laws is too

        little. The Government has identified laws in seventeen states that restricted the

        ability of 18-to-20-year-old minors to acquire firearms between 1856 and 1900. (The

        Government only gets to twenty by citing two laws from non-state jurisdictions—

        the District of Columbia and the Territory of Wyoming, 27 Stat. 116–17 (1892);

        1890 Wyo. Sess. Laws 1253—and a Nevada law restricting concealed (but not open)

        carry.) This purported tradition is thus far from a majority one, as by 1900 there were

        45 states in the union, and it is much less widespread than the laws of 30-plus states

        the Supreme Court has rejected as not establishing a valid tradition for regulation in




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        the First Amendment context. See Espinoza v. Mont. Dep’t of Revenue, 140 S. Ct.

        2246, 2258–59 (2020).

              There are other reasons to reject a rule based on the Government’s analogues.

        Just three of them predate the adoption of the Fourteenth Amendment, which is the

        latest possible date at which the meaning of Second Amendment rights would be set.

        See 1856 Ala. Acts. 17; 1856 Tenn. Pub. Acts 92; Edward Bullock & William

        Johnson, The General Statutes of the Commonwealth of Kentucky 359, § 1 (1873)

        (reporting an 1859 enactment). And all of those laws were from slave states. As the

        Hirschfeld panel remarked when discussing the Alabama and Tennessee laws, “[i]t

        would . . . be strange to rely on two southern laws restricting gun rights that were

        enacted before the Civil War given Congress’s grave concerns about southern states

        disarming freed Blacks during this period.” Hirschfeld, 5 F.4th at 440; see also

        McDonald, 561 U.S. at 770–78; Jones, 34 F.4th at 722 (noting the “deeply offensive

        nature of many of” “the Reconstruction-era laws” restricting the Second Amendment

        rights of 18-to-20-year-olds).

              The other, even later laws, should similarly not be seen to support the

        Handgun Purchase Ban. One law cited by the Government did not prevent purchase

        of handguns at all, it merely forbade them to be carried concealed, so it did not

        burden the exercise of the right to the same degree as the Handgun Purchase Ban.

        1885 Nev. Stat. 51. One law comes from Kansas, 1883 Kan. Sess. Laws 159, which


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        was singled out by Bruen as an example of a state that, around this time, “operated

        under a fundamental misunderstanding of the right to bear arms, as expressed in

        Heller,” 597 U.S. at 68. Bruen was also dismissive of overly restrictive firearm laws

        in the Western Territories, which “were rarely subject to judicial scrutiny” and

        deserving of “little weight,” id. at 68–69. The Government’s Wyoming law qualifies.

        1890 Wyo. Sess. Laws 1253. Several other laws come from states with no Second

        Amendment analogue and so were passed by legislatures that did not consider

        themselves bound to respect a right to bear arms of their citizens. See Eugene

        Volokh, State Constitutional Rights to Keep and Bear Arms, 11 TEX. REV. OF L. AND

        POLITICS 191, 193–204 (2006); 16 Del. Laws 716 (1881); 1881 Ill. Laws 73; 1884

        Iowa Acts 86; 1882 Md. Laws 656; 1890 La. Acts 39; 1882 W. Va. Acts 421–22;

        1883 Wis. Sess. Laws 290. And two local restrictions from Chicago, Proceedings of

        the Common Council of the City of Chicago for the Municipal Year 1872–3, at 113–

        14 (1874), and Lincoln, Nebraska, 1895 Neb. Laws 237–38, Laws of Nebraska

        Relating to the City of Lincoln, Art. XXVI, §§ 2, 5, should be disregarded both

        because they were “irrelevant” to most of the country, Bruen, 597 U.S. at 66–67, and

        because, by virtue of being purely local, were lesser burdens on the rights of 18-to-

        20-year-olds (who could leave town) than the nationwide Handgun Purchase Ban.

              Furthermore, as explained above, the Government has cited the laws of

        seventeen states restricting access to firearms. Fourteen of those seventeen


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        (including all seven not already distinguished in the prior paragraph) are targeted not

        at any particular age but rather at minority status. See 1856 Ala. Acts 17; 16 Del.

        Laws 716 (1881); 1876 Ga. Laws 112; 1881 Ill. Laws 73; 1883 Kan. Sess. Laws

        159; Bullock & Johnson, General Statutes 359 (Kentucky) 1884 Iowa Act 86; 1878

        Miss. Laws 175–76; Mo. Rev. Stat. § 1274 (1879); 1893 N.C. Sess. Laws 468–69;

        1890 Okla. Laws 495; 1856 Tenn. Acts 92; 1897 Tex. Gen. Laws 221–22; 1883 Wis.

        Sess. Laws 290. As already explained, Bruen requires asking both “how and why”

        past laws infringed on the Second Amendment right, and historical laws can only

        serve as useful analogues if their modern comparator is “comparably justified.”

        Bruen, 597 U.S. at 29. That test is not met here for the simple reason that these

        statutes are explicitly predicated on a status (legal minority) that does not apply to

        18-to-20-year-olds today. To the extent these laws restricting the rights of minors

        applied to 18-to-20-year-olds, they did so because 18-to-20-year-olds were minors

        under the legal protection of their parents or guardians. See, e.g., 1 BLACKSTONE

        COMMENTARIES *441. Indeed, seemingly unaware that Plaintiffs today are not

        minors and that it dooms its case, the Government asserts repeatedly that these

        “historical laws were enacted to prevent crime by minors.” Gov’t Br. 16 (citation

        omitted). But the same cannot possibly be said of the Handgun Purchase Ban’s

        application to Plaintiffs, who are not minors but legal adults. And we are not aware

        of any law from any potentially relevant time frame that singled out the firearm


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        rights of legal adults for special restrictions based on their being younger than other

        legal adults. See, e.g., JOHN BOUVIER, 1 INSTITUTES OF AMERICAN LAW 148 (1851)

        (explaining that upon reaching the age of majority, “every man is in the full

        enjoyment of his civil and political rights”).

              The incongruity of relying on these laws to support the Handgun Purchase

        Ban is brought into even sharper focus by the fact that in at least five of the states

        with laws restricting the ability of minors to acquire firearms, the age of majority for

        women was 18. See NRA II, 714 F.3d at 344 (Jones, J., dissental); Nat’l Rifle Ass’n,

        Inc. v. Bondi, 614 F.4th 1317, 1333 (11th Cir. 2023), reh’g en banc granted, vacated

        by 72 F.4th 1346 (Mem.). This means that the laws in these states, which were

        predicated on minority status, would not have restricted 18-to-20-year-old women,

        and it highlights that the laws were based on minority status, not age.

              The Government claims that these laws were popular, citing newspaper

        editorials from the period. Gov’t Br. at 15. But the popularity of a given measure

        among newspaper editors or even ordinary Americans—to the extent such a thing

        can be accurately gauged at remote points in our history from published editorials—

        is simply irrelevant. Neither Bruen nor Heller considered the popularity of historical

        restrictions in their very detailed analyses of history.

              The Government claims these laws were vetted and found Constitutional,

        citing State v. Callicutt, 69 Tenn. 714, 716–17 (1878) and a popular treatise, THOMAS


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        M. COOLEY, TREATISE ON CONSTITUTIONAL LIMITATIONS 740 n.4 (5th ed. 1883). See

        Gov’t Br. 15–16. Callicutt does not help the Government. In that decision, the

        Tennessee Supreme Court upheld a conviction for selling pistols to minors. To the

        extent Callicutt passed upon the constitutionality of the law at issue, it only

        “addressed concealed carry of dangerous weapons, not the right to keep and bear

        arms more generally.” Jones, 34 F.4th at 720. The only legal reasoning in Callicutt

        on the scope of the right to bear arms is a pair of citations to Aymette v. State, 21

        Tenn. 154 (1840) and Page v. State, 50 Tenn. 198 (1871). Heller singled out Aymette

        as demonstrating an “odd reading of the right” that simultaneously permitted citizens

        “to carry arms openly, unconnected with any service in a formal militia, but . . . use

        them only for the military purpose of banding together to oppose tyranny.” 554 U.S.

        at 613. This interpretation was “not the one [the Court] adopt[ed]” in Heller. Id.

        Page asserted that the legislature could restrict carrying a revolver because it was

        not “an arm for war purposes.” 50 Tenn. At 198. Again, Heller made clear that the

        Amendment is not limited to protecting arms for war purposes but “extends, prima

        facie, to all instruments that constitute bearable arms.” 554 U.S. at 582. Callicutt is

        not good law and has nothing informative to say about the appropriate scope of the

        Second Amendment right.

              As for Cooley’s treatise, which stated in a footnote that “the State may prohibit

        the sale of arms to minors,” Gov’t Br. 15, Cooley elsewhere was clear that it the


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        Second Amendment applied to “the whole people,” Cooley, supra GENERAL

        PRINCIPLES, at 268, and Cooley was not here endorsing the view that bans on sales

        to minors were constitutional (and again, Plaintiffs are not minors). The sentence

        appeared in the section of his treatise regarding the police power and Cooley was

        merely “identifying . . . a case related to his discussion, which is how he utilized

        footnotes to cite thousands of cases throughout [his] treatise.” Kopel & Greenlee,

        History and Tradition in Modern Circuit Cases on the Second Amendment Rights of

        Young People, 43 S. ILL. LAW J. 119, 143 (2018). What is more, Cooley’s only

        authority for the statement in the footnote was Callicutt, so the Government’s two

        sources here are really just one.

              Finally, the Government claims support from the fact that “in modern times,

        ‘all fifty States (and the District of Columbia) have imposed minimum-age

        qualifications on the use or purchase of particular firearms.’ ” Gov’t Br. 16 (quoting

        NRA I, 700 F.3d at 190 n.4). But no one is arguing that there cannot be any minimum

        age requirements with respect to firearms—that would be absurd. Rather, the

        minimum age requirement for handgun purchasing cannot be 21. And aside from

        the federal Handgun Purchase Ban, most states recognize 18-year-olds as having full

        rights regarding handguns. See, e.g., What is Open Carry and Which States Allow

        It?, U.S. CONCEALED CARRY (Nov. 14, 2023), https://bit.ly/3uGXAyI (listing

        majority of states that permit open carry at age 18). In any event, there is nothing to


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        the Government’s argument that Bruen and Heller invalidated “outlier” laws and

        therefore a law that is more consistent with the approaches taken by the various states

        today should not be overturned. Gov’t Br. 17. Bruen explicitly gave modern

        legislative judgments about the scope of the Second Amendment right no weight at

        all. It would be bizarre to read the case as permitting the Government to seek shelter

        from this challenge in contemporary laws, let alone those that it describes at such a

        high level of generality—after all, New York could just as easily have argued in

        Bruen that it was one of many states that required a permit to carry a firearm. Such

        considerations were irrelevant there and they are irrelevant here.

              Under Bruen, this case should be a relatively easy one. The only possible

        analogues for the Handgun Purchase Ban are from too late a date to overcome the

        text of the Second Amendment and the unanimous practice at the Founding. See

        Bruen, 597 U.S. at 66 (“As we suggested in Heller, however, late-19th-century

        evidence cannot provide much insight into the meaning of the Second Amendment

        when it contradicts earlier evidence.”). As Judge Jones remarked in NRA II:

              Originalism is not without its difficulties in translation to the modern
              world. For example, deciding whether the use of a thermal heat imaging
              device violates the original public meaning of the Fourth Amendment
              is a hard question. In this case, however, the answer to the historical
              question is easy. The original public meaning of the Second
              Amendment include[s] individuals eighteen to twenty[.] . . . The
              members of the first Congress were ignorant of thermal heat imaging
              devices; with late teenage males, they were familiar.




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        714 F.3d at 342 (Jones, J., dissental) (internal citation omitted). The Bruen court

        largely echoed this sentiment, noting that the inquiry it was prescribing “will be

        fairly straightforward” in cases where “a challenged regulation addresses a general

        societal problem that has persisted since the 18th century” and a “lack of a distinctly

        similar historical regulation addressing that problem [provides] relevant evidence

        that the challenged regulation is inconsistent with the Second Amendment.” 597

        U.S. at 26–27. The Government has singled out 18-to-20-year-olds for differential

        treatment from other adults, seemingly out of a concern that they are too young to

        be trusted with the right to purchase and possess a firearm. Yet the Founders knew

        all about 18-to-20-year-olds; they required them to possess firearms in good working

        order and to know how to use them so that they could be ready to serve as members

        of the militia if the need arose. They never enacted a single “distinctly similar” ban

        on their acquiring firearms.

           III.   The District Court Did Not Err in Enjoining the Handgun Purchase
                  Ban.
              The Government argues that the district court should not have granted

        injunctive relief because it did not analyze each of the injunction factors in its

        decision. Gov’t Br. 23–24. This was, at worst, harmless error, and it certainly

        provides no basis for overturning the district court’s decision to grant Plaintiffs a

        declaratory judgment. While the district court did not analyze the issue in its initial

        opinion, it did examine the injunction factors in reviewing the Government’s request


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        for a stay of the injunction and in that opinion it made findings that support its

        decision granting the injunction in the first place.

              To be granted an injunction, Plaintiffs must demonstrate:

              (1) that [they have] suffered an irreparable injury; (2) that remedies
              available at law, such as monetary damages, are inadequate to
              compensate for that injury; (3) that, considering the balance of
              hardships between the plaintiff and defendant, a remedy in equity is
              warranted; and (4) that the public interest would not be disserved by a
              permanent injunction.

        Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 156–57 (2010). It is well-

        recognized that “injunctions prohibiting the enforcement of unconstitutional laws

        are the proper remedy when, as here, a court upholds a facial constitutional

        challenge.” Fraser v. BATFE, 2023 WL 5617899, at *5–*6 (E.D. Va. Aug. 30,

        2023). In its opinion regarding the stay, the district court explained that plaintiffs

        “will clearly be substantially injured” by permitting the enforcement of a law that

        violates their constitutional rights, and “upholding constitutional rights is in the

        public interest.” JA76 (second quote quoting Legend Night Club v. Miller, 637 F.3d

        291, 303 (4th Cir. 2011)); see also Ezell, 651 F.3d at 699 (finding that the Second

        Amendment protects “intangible and unquantifiable interests” so infringement of the

        right is irreparable harm); Jones, 34 F.4th at 732. Meanwhile, it held that the

        Government “cannot show irreparable harm by losing their right to enforce an

        unconstitutional law” so that “removing the unconstitutional barrier of purchasing

        handguns by law-abiding 18-to-20-year-olds does not greatly impact public safety.”

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        JA74–75. Indeed, the only factor which the district court did not specifically address

        in its stay opinion is the availability of monetary damages, and there the point is

        obvious: “nothing in the record would permit a finding that an award of money

        damage[s] could redress that deprivation of the rights enjoyed by the Plaintiffs under

        the Second Amendment.” Fraser, 2023 WL 5617899, at *5. The Government is

        immune from damages in a case like this one, so because the Plaintiffs have shown

        the Handgun Purchase Ban violates their constitutional rights, the district court was

        right to enjoin defendants from enforcing it.

                                             CONCLUSION

              This Court should affirm the judgment of the district court and the award of

        declaratory and injunctive relief.

                              REQUEST FOR ORAL ARGUMENT

              The Court has tentatively calendared this case for oral argument during the

        May 7–10 argument session. See Order, Doc. 29 (Jan. 30, 2024). Plaintiffs believe

        oral argument is appropriate and will aid the Court in deciding this case.




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         Dated: February 21, 2024                 Respectfully submitted,

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              This brief complies with the length limitation of Fed. R. App. P. 32(a)(7)(B)

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